 

Case 3:14-cv-0304b OF ALED @- 1 of prot \ Z

IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF TEXAS &14 2/025 px a, 69

DALLAS DIVISION QML

 

UNITED STATES OF AMERICA, § ~
ex rel. SUZANNE SCOTT and §
SAVANNAH SOGAR, §
§ CIVIL ACTION NUMBER:
Plaintiff, §
S  -g-14€V3065~-D
V. §
§
PINE CREEK MEDICAL § TO BE FILED UNDER SEAL
CENTER, LLC, §
§
Defendant. —,§
COMPLAINT

 

The UNITED STATES OF AMERICA (“Plaintiff”) ex rel. SUZANNE SCOTT and
SAVANNAH SOGAR (collectively, “Relators”) respectfully submits this complaint, stating
the following claims against PINE CREEK MEDICAL CENTER, LLC (“Defendant”).

Introduction

1. This is a civil action under the False Claims Act, 31 U.S.C. §§ 3729-3733.
Defendant operates a hospital. Defendant violated the Stark Law, 42 U.S.C. § 1395nn, and
the Anti-Kickback Act, 42 U.S.C. § 1320a-7b, by inducing and accepting referrals of
Medicare patients from physicians with whom Defendant had financial relationships.
Defendant submitted unauthorized claims for Medicare payments with respect to the
unlawfully referred patients, and failed to return to the Government payments that Defendant

received as a result of the unlawful referrals.

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Jurisdiction
2. This action arises under 31 U.S.C. §§ 3729-30. Jurisdiction over the subject
matter of this action is conferred on the Court by 28 U.S.C. §§ 1331 and 1345, and 31 U.S.C.
§ 3730(b).
Venue
3. The venue of this civil action is proper under 28 U.S.C. § 1391(b). Defendant
maintains its principal place of business in this district, and a substantial part of the events

or omissions giving rise to the claims occurred in this district.

The Parties
4. Suzanne Scott, one of Relators herein, is a natural person and a citizen of the
State of Texas.
5. Savannah Sogar, one of Relators herein, is a natural person and a citizen of the

State of Texas.

6. Pine Creek Medical Center, LLC, Defendant herein, is or purports to be a
limited liability company organized and existing under the laws of the State of Texas and
maintaining its principal place of business at 9032 Harry Hines Boulevard, Dallas, Texas
75235, an address within Dallas County, Texas, and the Northern District of Texas. The
registered agent for service of process on Pine Creek Medical Center, LLC is Andrew N.
Meyercord, whose registered address is 1601 Elm Street, Suite 4600, Dallas, Texas 75201.

Conditions Precedent

7. All conditions precedent have been performed or have occurred.
 

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Overview of Applicable Laws
Medicare

8. Medicare is a system of federally funded health insurance for people aged 65
or over, people who are disabled, and people suffering from end-stage renal disease.

9. Medicare was established by Title XVIII of the Social Security Act. Title
XVIII is codified as subchapter XVIII of Title 42 of the United States Code.

10. Part A of Title XVII, also known as “Medicare Part A,” provides hospital
insurance. The benefits available under Medicare Part A are specifically described in Title
42, Part 409, of the Code of Federal Regulations.

11. = PartB of Title XVIII, also known as “Medicare Part B,” provides supplemental
medical insurance covering a portion of the cost of certain physicians’ services, outpatient
services, and other medical services and devices. The benefits available under Medicare Part
B are specifically described in Title 42, Part 410, of the Code of Federal Regulations.

12. Medicare is administered by the United States Department of Health and
Human Services (“HHS”) through an operating division known as the Centers for Medicare
and Medicaid Services (“CMS”).

13. Medicare has strict eligibility requirements. To be eligible for benefits under
Medicare Part A, one must meet the requirements set forth in Title 42, Part 406, of the Code
of Federal Regulations. To be eligible for benefits under Medicare Part B, one must meet

the requirements set forth in Title 42, Part 407, of the Code of Federal Regulations.
 

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14. There are many exclusions from and limitations on Medicare coverage. These
are set forth in Title 42, Part 411, of the Code of Federal Regulations.

15. Providers of healthcare services and devices submit claims for Medicare
benefits on behalf of patients who are — or who are supposed to be — eligible and entitled to
receive those benefits from Medicare and not subject to any exclusion or limitation on
coverage. See 42 C.F.R. Part 424, subpart A. Federal funds are paid directly to healthcare
providers who submit these claims. See 42 C.F.R. Part 424, subpart D.

16. It is the responsibility of healthcare providers, such as Defendant, to establish
that patients, for whom Medicare claims are submitted, are both eligible and entitled to
receive the benefits claimed, and further to establish that the claims submitted by them are
not subject to any exclusion or limitation on coverage under Medicare.

The Stark Law

17. | Astatute commonly known as “the Stark Law” generally prohibits physicians
from referring Medicare-eligible patients to an entity for certain “designated health services”
if the referring physician has a “financial relationship” with the entity. The Stark Law is
codified in Title 42, Section 1395nn, of the United States Code, and the general prohibition
is set forth in subsection (a)(1).

a. The Stark Law defines “designated health services” to include “hospital
services.” 42 U.S.C. § 1395nn(h)(6). Both “inpatient” and “outpatient” hospital services are
included. Jd. The term also includes clinical laboratory services, physical therapy services,

occupational therapy services, radiology services, radiation therapy services and supplies,
 

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durable medical equipment and supplies, parenteral and enteral nutrients, equipment, and
supplies, prosthetics, orthotics, and prosthetic devices and supplies, home health services,
outpatient prescription drugs, and outpatient speech-language pathology services. Jd.

b. The term “financial relationship” is defined broadly to include any
“compensation arrangement” between a physician and an entity. 42 U.S.C. § 1395nn(a)(2).
The term “compensation arrangement” is, in turn, defined broadly as “any arrangement
involving any remuneration between a physician . . . and an entity,” subject to various
exceptions. 42 U.S.C. § 1395nn(h)(1)(A). “Remuneration includes any remuneration,
directly or indirectly, overtly or covertly, in cash or in kind.” 42 U.S.C. § 1395nn(h)(1)(B).

18. The Stark Law expressly forbids healthcare providers to submit claims under
Medicare for services furnished to a patient who was referred in violation of the Stark Law.
42 U.S.C. § 1395nn(a)(1)(B) (“an entity may not present or cause to be presented a claim
under this subchapter [i.e., Title XVIII of the Social Security Act, also known as Medicare]
. . . for designated health services furnished pursuant to a referral prohibited under
[subsection (a)(1)(A)]”).

19. Moreover, the Stark Law expressly disallows Medicare payments for services
provided to a patient referred in violation of the Stark law. 42 U.S.C. § 1395nn(g)(1) (“[nJo
payment may be made under this subchapter [i.e., Medicare] for a designated health service
which is provided in violation of subsection (a)(1) of this section’).

20. The Stark Law imposes an affirmative duty to refund “on a timely basis” any

Medicare payments collected in violation of the Stark Law. 42 U.S.C. § 1395nn(g)(2).
 

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21. The Stark Law recognizes various exceptions to its general prohibition of
referrals by physicians to entities with which the physician has a financial relationship. See
42 U.S.C. § 1395nn(b)-(e). See also 42 C.F.R. §§ 411.355-411.357.

The Anti-Kickback Act

22. The Anti-Kickback Act is a criminal statute prohibiting anyone from
knowingly and willfully soliciting, receiving, offering, or paying any remuneration in return
for referring an individual to a person for the furnishing of any item or service for which
payment may be made under a federal health care program. The Anti-Kickback Act is
codified in Title 42, Section 1320a-7b, of the United States Code, and the prohibition
described above is set forth in subsections (b)(1) and (b)(2) thereof.

23. Like the Stark Law, the Anti-Kickback Act is subject to various exemptions.
42 U.S.C. 1320a-7b(b)(3). See also 42 C.F.R. § 1001.952.

24. Inthe Patient Protection and Affordable Care Act (““PPACA”), Pub.L 111-148,
§ 6402(f), 124 Stat. 119 (2010), which became law on May 23, 2010, Congress amended the
Anti-Kickback Act in two respects of particular significance in this case.

a. Congress lowered the level of scienter necessary to commit a violation
of the Anti-Kickback Act: “With respect to violations of this section, a person need not have
actual knowledge of this section or specific intent to commit a violation of this section.” 42
U.S.C. § 1320a-7b(h). This provision legislatively overruled case law requiring proof of

specific intent to violate the Anti-Kickback Act.

 
 

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remedies prescribed for violations of Anti-Kickback Act, “a claim that includes items or
services resulting from a violation of this section constitutes a false or fraudulent claim for
purposes of subchapter ITI of chapter 37 of title 31, United States Code [i.e., the False Claims
Act].” 42 U.S.C. § 1320a-7b(g). Thus, a claim for payment pursuant to Medicare, for
services or devices provided to a patient who was referred in violation of the Anti-Kickback

Act, implicates the False Claims Act and gives rise to the private right-of-action afforded

therein.

25.

b. Congress also specified that, in addition to the other penalties and

The False Claims Act

The False Claims Act (“FCA”) creates civil liability for any person who:

(A) knowingly presents, or causes to be presented, a false or
fraudulent claim for payment or approval;

(B) knowingly makes, uses, or causes to be made or used, a false
record or statement material to a false or fraudulent claim;

(C) conspires to commit a violation of subparagraph (A), (B),
(D), (E), (F), or (G);

(D) has possession, custody, or control of property or money
used, or to be used, by the Government and knowingly delivers,
or causes to be delivered, less than all of that money or property;

(E) is authorized to make or deliver a document certifying
receipt of property used, or to be used, by the Government and,
intending to defraud the Government, makes or delivers the
receipt without completely knowing that the information on the
receipt is true;

(F) knowingly buys, or receives as a pledge of an obligation or
debt, public property from an officer or employee of the
 

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Government, or a member of the Armed Forces, who lawfully
may not sell or pledge property; or

(G) knowingly makes, uses, or causes to be made or used, a
false record or statement material to an obligation to pay or
transmit money or property to the Government, or knowingly
conceals or knowingly and improperly avoids or decreases an
obligation to pay or transmit money or property to the
Government....
31 US.C. § 3729(a)(1).
26. Asusedinthe FCA, the terms “knowing” and “knowingly” are defined to mean
that a person, with respect to information, “(i) has actual knowledge of the information; (ii)
acts in deliberate ignorance of the truth or falsity of the information; or (iii) acts in reckless
disregard of the truth or falsity of the information.” 31 U.S.C. § 3729(b)(1). Those terms
“require no proof of specific intent to defraud.” Jd.
27. A person who is found to have violated the FCA:
is liable to the United States Government for a civil penalty of
not less than $5,000 and not more than $10,000, as adjusted by
the Federal Civil Penalties Inflation Adjustment Act of 1990,
plus 3 times the amount of damages which the Government
sustains because of the act of that person.
31 U.S.C. § 3729(a)(1). Such person is also liable for the costs of a civil action brought to
recover such penalties or damages. 31 U.S.C. § 3729(a)(3).
28. | Aprivate person may bring, for himself and for the Government of the United
States, a civil action for a violation of the FCA. 31 U.S.C. § 3730(b)(1). Such an action is

to be brought in the name of the Government of the United States. Jd. The person bringing

the action is entitled to recover a percentage of the proceeds of the action or settlement of the
 

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claim. 31 U.S.C. § 3730(d). The percentage to be paid to that person must be within the
range of 15 to 30 percent, depending on whether the Government elects to proceed with the
action and the extent to which the person bringing the action “substantially contributed to the
prosecution of the action.” 31 U.S.C. §§ 3730(d)(1), (2).' Such person is also entitled to
receive an amount for reasonable expenses necessarily incurred, plus reasonable attorneys’
fees and court costs, all of which are to be awarded against the defendant. 31 U.S.C. §
3730(d)(1), (2).

29. Significant amendments to the FCA were made in the Fraud Enforcement
Recovery Act (“FERA”), Pub.L. 111-21, § 386, 123 Stat. 1617 (2009), which became law
on May 20, 2009. The amendments include the addition of a provision creating liability
under the FCA for what have become known as “reverse false claims,” i.e., knowing
concealment or avoidance of obligations to pay money to the Government (as distinguished
from requests to the Government for money). See 42 U.S.C. § 3729(a)(1)(G).

30. Thus, in the past two years, Congress has twice (first in the FERA and then in
the PPACA) acted to enhance enforcement of the prohibitions against referrals of Medicare
patients to healthcare providers who have a financial relationship with the referring

physician, and to facilitate civil actions against persons who violate those prohibitions.

 

' If, however, the person bringing the action “planned and initiated” the violation

upon which the action is based, then the court may reduce the share of the proceeds that such
person would otherwise receive, “taking into account the role of that person in advancing the

case to litigation and any relevant circumstances pertaining to the violation.” 31 U.S.C. §
3730(d)(3).

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Factual Basis of the Claims”
Defendant and Its Marketing Activities

31. Pine Creek Medical Center, LLC (““Defendant’’) owns and operates a healthcare
facility located at 9032 Harry Hines Boulevard in the City of Dallas, Texas, an address within
Dallas County, Texas. The facility was formerly operated by an entity named Pine Creek
Medical Center, LP, a general partnership that had been registered as a limited liability
partnership. On or about December 9, 2011, Pine Creek Medical Center, LP was converted
to a limited liability company and became Pine Creek Medical Center, LLC, Defendant
herein.

32. Pine Creek Medical Center, LLC is liable for the debts owed by Pine Creek
Medical Center, LP, to the Government of the United States at the time of the conversion.

33. Since before August 2009, Defendant has actively encouraged physicians to
refer patients to Defendant’s healthcare facility. Defendant had an entire department, known
as the “Marketing Department,” devoted primarily to persuading physicians to refer their
patients to Defendant.

34. In order to induce physicians to refer their patients to Defendant, Defendant
gave to the physicians goods and services of considerable value. For example:

a. Defendant paid for advertisements in D Magazine for various doctors,

including but not limited to Dr. Neil Atlin, Dr. Richard Buch, Dr. Don Buford, Dr. Terry

 

* This complaint does not set forth every fact supporting the claims pleaded herein.
It is intended only to be “a short and plain statement of the claim showing that the pleader
is entitled to relief,” as required by Rule 8(a) of the Federal Rules of Civil Procedure.

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Gemas, Dr. Richard Ha, Dr. Shade Ogunro, Dr. Marcia Oliveira, Dr. Francisco Battle, Dr.
Alexander Cho, Dr. Siddarth Jain, Dr. Roy Carrington Mason, Dr. Jeffrey Toubin, Dr. Roy
Ashton, Dr. Scott Ashton, and Dr. Ivan Ashton. Defendant paid for design and photographic
services in connection with creation of the ads. Defendant was not mentioned in the ads, so
they did not constitute marketing by Defendant of its own services.

b. Defendant paid for an advertisement in the Fort Worth Star-Telegram
for Dr. Bruce Prager and Dr. Charles Whittenburg. Defendant was not mentioned in the ad,
so it did not constitute marketing by Defendant of its own services.

c. Defendant paid for an advertisement in the Dallas Theater Center for
Dr. Don Buford. Defendant was not mentioned in the ad, so it did not constitute marketing
by Defendant of its own services.

d. Defendant paid for radio and television advertising for various doctors,
including but not limited to Dr. Dirk Rodriguez, and Defendant provided design services in
connection with the creation of the ads. The ads did not mention Defendant, so they did not
constitute marketing by Defendant of its own services.

e. Defendant paid for pay-per-click advertising campaigns for various
doctors, including but not limited to Dr. Frank Feigenbaum, Dr. Bruce Prager, Dr. Charles
Whittenburg, and Dr. Jeff Zhao.

f. Defendant paid to create or upgrade websites for various doctors,

including but not limited to Dr. Bala Giri, Dr. Dirk Rodriguez, and Dr. Jeff Zhao.

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g. Defendant paid for lunches and dinners, to which primary care
physicians were invited, in order to promote the practices of various doctors, including but
not limited to Dr. Ray Aronowitz, Dr. Kendal Carll, Dr. Frank Feigenbaum, Dr. Terry
Gemas, Dr. Bala Giri, Dr. Nilpesh Petal, Dr. Bruce Prager, Dr. Kyle Stuart, Dr. Marvin Van
Hal, Dr. Charles Whittenburg, Dr. Eric Wieser, and Dr. Constance Zhou.

h. Defendant paid for the design and printing of brochures and/or business
cards for various doctors, including but not limited to Dr. Neil Atlin, Dr. Frank Feigenbaum,
Dr. Bala Giri, Dr. Olayinka Ogunro, Dr. Donald Ozumba, Dr. Kyle Stuart, Dr. Marvin Van
Hal, Dr. Eric Wieser, Dr. Jeff Zhao.

I. On two occasions, Defendant paid part of the cost of a “Sleep
Symposium” for the benefit of Dr. Henry Raroque.

j. Defendant provided marketing services to various doctors, including but
not limited to Dr. Joseph Cribbins.

k. Defendant paid for a billboard advertisement for a practice group named
“All Star Orthopaedics,” in which Dr. Stephen Timon is a principal. Defendant also
provided design services in connection with the creation of the billboard advertisement.

1. Defendant conferred financial benefits, similar to those described above,
on other physicians whose names Relators do not presently remember, in order to induce
those physicians to refer their patients to Defendant.

35. The financial benefits conferred by Defendant on the physicians named above,

and on many others, constitute “remuneration” under the Stark Law because “[r]emuneration

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includes any remuneration, directly or indirectly, overtly or covertly, in cash or in kind.” 42
U.S.C. § 1395nn(h)(1)(B).

36. Consequently, Defendant had a “financial relationship” with each of the
physicians named above, and with many others, because Defendant entered into a
“compensation arrangement” with each of them. See 42 U.S.C. § 1395nn(a)(2). As noted
above, a “compensation arrangement” is “any arrangement involving any remuneration
between a physician . .. and an entity,” subject to various exceptions not applicable here. See
42 U.S.C. § 1395nn(h)(1)(A).

37. Under the Anti-Kickback Act, it was unlawful for Defendant to offer or to pay
any remuneration in return for referral of an individual to Defendant for the furnishing of any
item or service for which payment may be made under a federal health care program. See
42 U.S.C.§ 1320a-7b. And under the Stark Law, it was unlawful for Defendant to bill
Medicare for services or devices provided to a patient who was referred to Defendant by a
physician with whom Defendant had a “financial relationship.” ‘See 42 U.S.C. § 1395Snn(a).
Nevertheless, Defendant did so — intentionally and systematically.

Involvement of Relators

38. Relator Suzanne Scott was hired by Defendant in August 2009 to serve as its
Director of Marketing, a position she occupied until February 17, 2014, when her
employment by Defendant was terminated. As Director of Marketing for Defendant, Relator
Suzanne Scott was the manager of the Marketing Department, and she oversaw the efforts

— including the payment of remuneration — to persuade physicians to refer their patients to

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Defendant, as described above. Relator Suzanne Scott had no involvement in submitting
claims to the Government or in collecting money from the Government, so she was not
involved in the submission or collection of any false claim.

39. Relator Savannah Sogar was hired by Defendant in November 2011 to serve
as a “Physician Marketer,” a position she occupied until February 17, 2014, when her
employment by Defendant was terminated. As a Physician Marketer for Defendant, Relator
Savannah Sogar was directly involved in the efforts — including the payment of remuneration
— to persuade physicians to refer their patients to Defendant, as described above. Relator
Savannah Sogar had no involvement in submitting claims to the Government or in collecting
money from the Government, so she was not involved in the submission or collection of any
false claim.

Violations of the Stark Law and the Anti-Kickback Act

40. Each of the financial benefits described above constituted a “compensation
arrangement” (as defined in 42 U.S.C. § 1395nn(h)(1)) between Defendant and a physician
because the agreement provided for one or more payments of money by Defendant directly
to, or for the benefit of, the physician. As a result, Defendant had a “financial relationship”
(as defined in 42 U.S.C. § 1395(a)(2)) with each of those physicians. In light of the financial
relationships, the referrals of patients by those physicians to Defendant were prohibited by
the Stark Law, unless an exemption is shown to apply. 42 U.S.C. § 1395nn(a)(1). The
financial benefits conferred by Defendant on the physicians do not fall within any exemption

to the Stark Law.

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41. Defendant knowingly and willfully offered and paid remuneration in return for
referrals of individuals to Defendant for the furnishing of services and devices for which
payment may be, and in fact was, made under a federal health care program. Consequently,
Defendant violated the Anti-Kickback Act. See 42 U.S.C. § 1320a-7b(b)(1), (b)(2). None
of the exemptions from the Anti-Kickback Act apply to the financial benefits paid by
Defendant to the referring physicians. See 42 U.S.C. 1320a-7b(b)(3). See also 42 C.F.R. §
1001.952. In addition to the other penalties and remedies prescribed for violations of Anti-
Kickback Act, “‘a claim that includes items or services resulting from a violation of this
section constitutes a false or fraudulent claim for purposes of subchapter III of chapter 37 of
title 31, United States Code [i.e., the False Claims Act].” 42 U.S.C. § 1320a-7b(g).

Submission of False Claims

42. Because the referrals of patients to Defendant by the recruited physicians and
the other physicians in their practice groups were in violation of the Stark Law, it was
unlawful for Defendant to submit Medicare claims related to those patients. See 42 U.S.C.
§ 1395nn(g)(1).

43. The referrals also were in violation of the Anti-Kickback Act, because
Defendant made payments to the referring physicians in order to induce them to make
referrals. Medicare claims including items or services resulting from those referrals
constitute fraudulent claims for purposes of the FCA. 42 U.S.C. § 1320a-7b(g).

44. Nevertheless, using form UB-92 (also known as form CMS 1450) and forms

CMS 2552-96 and CMS 2552-10 (or similar forms), Defendant submitted large numbers of

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claims for Medicare payments related to patients unlawfully referred to Defendant by the
recruited physicians and their practice groups, and Defendant received from the Government
payments based on those claims. The annual cost reports submitted by Defendant included
the following certification, which was signed by an officer of Defendant:

I HEREBY CERTIFY that I have read the above statement and

that I have examined the accompanying electronically filed or

manually submitted cost report and the Balance Sheet and

Statement of Revenue and Expenses . . . and that to the best of

my knowledge and belief, it is a true, correct and complete

statement prepared from the books and records of the provider

in accordance with applicable instructions, except as noted. I

further certify that I am familiar with the laws and regulations

regarding the provision of health care services and that the

services identified in this cost report were provided in

compliance with such laws and regulations.
(This certification was required by 42 C.F.R. § 413.24(f)(4)(iv).) Thus, with respect to every
claim for Medicare benefits, Defendant expressly or, in the alternative, impliedly certified
that the patient had been referred to Defendant in compliance with the Stark Law and the
Anti-Kickback Act.

Failure To Refund Amounts Owed to the Government
45. Having collected payments for designated health services that were performed

pursuant to prohibited referrals, Defendant was obligated to refund all collected amounts “on
a timely basis,” which is legally defined as “the 60-day period from the time the prohibited
amounts [were] collected by [Defendant].” 42 C.F.R. §§ 411.353(d); 1003.101. In addition,

by a date certain after filing each of its annual cost reports, Defendant had an affirmative duty

to refund the Medicare payments that it had received during the period covered by the cost

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report as a result of claims related to the unlawfully referred patients. 42 U.S.C. §
1395nn(g)(2). “An overpayment must be reported and returned . . . by the later of (A) the
date which is 60 days after the date on which the overpayment was identified; or (B) the date
any corresponding cost report is due, if applicable.” 42 U.S.C. § 1320a-7k(d)(2)._ Upon
information and belief, Relators aver that Defendant failed to comply with its duty to refund
the Medicare payments that it had received in connection with the unlawful referrals, thereby
triggering “reverse false claim” liability under the FCA. See 31 U.S.C. § 3729(a)(1)(G).

First Set of Claims
Liability Under 31 U.S.C. § 3729(a)(1)(A) for Presenting False Claims®

46. | Theaverments of Paragraphs 1-44 are incorporated by reference herein. Ifany
of those averments are inconsistent with this set of claims, they are pleaded in the alternative,
as expressly authorized by FED. R. Cv. P. 8(d)(3).

47. Defendant is liable under 31 U.S.C. § 3729(a)(1) for knowingly presenting, or
causing to be presented, one or more false or fraudulent Medicare claims for payment or
approval. See 31 U.S.C. § 3729(a)(1)(A).

48. Defendant’s violations of 31 U.S.C. § 3729(a)(1)(A) proximately caused the
United States to sustain substantial damages. The recoverable damages include the sum of
all payments to Defendant in response to Medicare claims relating to patients referred to
Defendant by the physicians with whom Defendant had Physician Recruitment Agreements.

In addition, with respect to each and every physician who was recruited to join a practice

 

> The headings above the enumerated sets of claims in this complaint are provided
only for ease of reference and should not be construed to limit any of the claims.

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group, the damages also include the sum of all payments to Defendant in response to
Medicare claims relating to patients referred to Defendant, after the Physician Recruitment
Agreement was made, by the physicians whose practice was joined by the recruited
physician.

Second Set of Claims
Liability Under 31 U.S.C. § 3729(a)(1)(B) for Making and Using False Records

49. Theaverments of Paragraphs 1-44 are incorporated by reference herein. Ifany
of those averments are inconsistent with this set of claims, they are pleaded in the alternative,
as expressly authorized by FED. R. CIv. P. 8(d)(3).

50. Defendantis liable under 31 U.S.C. § 3729(a)(1) for knowingly making, using,
or causing to be made or used one or more false records or statements material to false or
fraudulent claims. See 31 U.S.C. § 3729(a)(1)(B).

51. Defendant’s violations of 31 U.S.C. § 3729(a)(1)(B) proximately caused the
United States to sustain substantial damages. The recoverable damages include the sum of
all payments to Defendant in response to Medicare claims relating to patients referred to
Defendant by the physicians with whom Defendant had Physician Recruitment Agreements.
In addition, with respect to each and every physician who was recruited to join a practice
group, the damages also include the sum of all payments to Defendant in response to
Medicare claims relating to patients referred to Defendant, after the Physician Recruitment
Agreement was made, by the physicians whose practice was joined by the recruited

physician.

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Third Set of Claims
Liability Under 31 U.S.C. § 3729(a)(1)(G) for Making and Using False Records

52. | The averments of Paragraphs 1-44 are incorporated by reference herein. Ifany
of those averments are inconsistent with this set of claims, they are pleaded in the alternative,
as expressly authorized by FED. R. CIv. P. 8(d)(3).

53. Defendant is liable under 31 U.S.C. § 3729(a)(1) for knowingly making, using,
or causing to be made or used one or more false records or statements material to obligations
to pay or transmit money to the Government. See 31 U.S.C. § 3729(a)(1)(G).

54. Defendant’s violations of 31 U.S.C. § 3729(a)(1)(G) proximately caused the
United States to sustain substantial damages. The recoverable damages include the sum of
all payments to Defendant in response to Medicare claims relating to patients referred to
Defendant by the physicians with whom Defendant had Physician Recruitment Agreements.
In addition, with respect to each and every physician who was recruited to join a practice
group, the damages also include the sum of all payments to Defendant in response to
Medicare claims relating to patients referred to Defendant, after the Physician Recruitment
Agreement was made, by the physicians whose practice was joined by the recruited
physician.

Fourth Set of Claims
Liability Under 31 U.S.C. § 3729(a)(1)(G) for Concealment or Avoidance of Obligations

55. | Theaverments of Paragraphs 1-44 are incorporated by reference herein. Ifany
of those averments are inconsistent with this set of claims, they are pleaded in the alternative,

as expressly authorized by FED. R. Civ. P. 8(d)(3).

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56. Defendant is liable under 31 U.S.C. § 3729(a)(1) for knowingly concealing,
or knowingly and improperly avoiding or decreasing, one or more obligations to pay or
transmit money or property to the Government. See 31 U.S.C. § 3729(a)(1)(G).

57. Defendant’s violations of 31 U.S.C. § 3729(a)(1)(G) proximately caused the
United States to sustain substantial damages. The recoverable damages include the sum of
all payments to Defendant in response to Medicare claims relating to patients referred to
Defendant by the physicians with whom Defendant had Physician Recruitment Agreements.
In addition, with respect to each and every physician who was recruited to join a practice
group, the damages also include the sum of all payments to Defendant in response to
Medicare claims relating to patients referred to Defendant, after the Physician Recruitment
Agreement was made, by the physicians whose practice was joined by the recruited
physician.

Fifth Set of Claims
Liability Under 31 U.S.C. § 3729(a)(1)(C) for Conspiracy

58. | Theaverments of Paragraphs 1-44 are incorporated by reference herein. If any
of those averments are inconsistent with this set of claims, they are pleaded in the alternative,
as expressly authorized by FED. R. CIv. P. 8(d)(3).

59. Defendant is liable under 31 U.S.C. § 3729(a)(1) for conspiring to commit one
or more violations of subparagraphs (a)(1)(A), (B), and (G) of Title 31, Section 3729, of the
United States Code. See 31 U.S.C. § 3729(a)(1)(C). In return for Defendant’s agreement
not to enforce the terms of the applicable Physician Recruitment Agreement, and specifically

Defendant’s agreement to make payments and to forgive debts when Defendant had no

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contractual duty to do so, each of the recruited physicians agreed to refer, and did in fact
refer, patients to Defendant in violation of both the Stark Law and the Anti-Kickback Act.
60. Defendant’s violations of 31 U.S.C. § 3729(a)(1)(C) proximately caused the
United States to sustain substantial damages. The recoverable damages include the sum of
all payments to Defendant in response to Medicare claims relating to patients referred to
Defendant by the physicians with whom Defendant had financial relationships, as described
above.
Plaintiff's Prayer for Relief
WHEREFORE, based on the foregoing averments, Plaintiff prays that upon proper
service of process (or waiver thereof), notice, and trial, or upon motion of Plaintiff for entry
of default judgment or summary judgment, the Court render judgment awarding Plaintiff the
following relief against Defendant:
(1) Three times the amount of money damages sustained by Plaintiff because
Defendant:
(a) knowingly presented, or causing to be presented, one or more false or
fraudulent claims for payment or approval;
(b) knowingly made, used, or caused to be made or used one or more false
records or statements material to false or fraudulent claims;
(c) knowingly made, used, or caused to be made or used one or more false

records or statements material to obligations to pay or transmit money to the Government;

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(d) knowingly concealed, or knowingly and improperly avoided or
decreased, one or more obligations to pay or transmit money or property to the Government;
and/or

(e) conspired to commit one or more violations of subparagraphs (a)(1)(A),
(B), and (G) of Title 31, Section 3729, of the United States Code;

(2) Civil penalties of not less than $5,000 and not more than $10,000, as adjusted
by the Federal Civil Penalties Inflation Adjustment Act of 1990, times the number of
instances in which Defendant violated 31 U.S.C. § 3729(a)(1);

(3)  Prejudgment interest at the highest lawful rate on all money damages from the
date on which the damages accrued to the date of judgment;

(4) All costs of court;

(5)  Postjudgment interest at the highest lawful rate on the total amount of the
judgment from the date of the judgment until paid, in accordance with applicable law;

(6) All writs and processes necessary to enforce the judgment in favor of Plaintiff;
and

(7) All other and further relief to which Plaintiff is entitled, subject to Relator’s
rights under 31 U.S.C. § 3730.

If any two or more requests for relief are inconsistent, they are pleaded in the

alternative, as authorized by FED. R. CIv. P. 8(a).

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Relators’ Prayer for Relief

WHEREFORE, based on the foregoing averments, Relators pray that upon proper
service of process (or waiver thereof), notice, and trial, or upon motion for entry of default
judgment or summary judgment, the Court render judgment awarding Relators the following
relief against Defendant:

(1) Ifthe United States elects to proceed with this action, 25 percent (or such lesser
percentage as the Court may determine based on the record and applicable law, but not less
than 15 percent) of the proceeds of the action or settlement of the claims stated herein;

(2) Ifthe United States elects not to proceed with this action, 30 percent (or such
lesser percentage as the Court may determine based on the record and applicable law, but not
less than 25 percent) of the proceeds of the action or settlement of the claims stated herein;

(3) Attorney's fees reasonably incurred by Relators in the course of preparing and
prosecuting this action, including conditional awards of additional fees to be incurred in the
event of any appeals;

(4) | Reasonable expenses necessarily incurred by Relators or their attorneys in the
course of preparing and prosecuting this action, including conditional awards of additional
expenses to be incurred in the event of any appeals;

(5) All costs incurred by Relators or their attorneys in this action;

(6)  Postjudgment interest at the highest lawful rate on the sum of the foregoing

amounts from the date of the judgment until paid;

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(7) All writs and processes necessary to enforce the judgment in favor of Relators;

and

(8) All other and further relief to which Relators are entitled.

If any two or more requests for relief are inconsistent, they are pleaded in the

alternative, as authorized by FED. R. CIv. P. 8(a).

DATED: August 26, 2014.

Respectfully submitted,

/s/ James A. Fisher
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